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                       UNITED STATES DISTRICT COURT                               b
                       WESTERN DISTRICT OF LOUISIANA
                           ALEXANDRIA DIVISION                      SECTION P

  MANUEL DURAN ORTEGA                    CIVIL ACTION 1:18-CV-00508

  VERSUS                                 JUDGE DRELL

  U.S. DEPT. OF HOMELAND                 MAGISTRATE JUDGE PEREZ-MONTES
  SECURITY, et al.


                                MEMORANDUM ORDER

       Petitioner Ortega filed an Ex Parte Motion for Order to Show Cause to set a

 briefing schedule and request a hearing (Doc. 8). In a Supplemental and Amended

 Ex parte Motion for Order to show Cause (Doc. 9), Ortega acknowledged he and

 Respondents had agreed on a briefing schedule, but Ortega’s requests for a hearing

 is opposed by Respondents.

       Ortega’s motion for a briefing schedule is moot, and a hearing is not necessary

 at this time. Therefore, Ortega’s Ex Parte Motions (Docs. 8, 9) are DENIED. Ortega

 may re-urge his request for a hearing if circumstances change.

       Respondents filed a Motion for Extension of Time to Answer (Doc. 10), and

 have since answered the petition. Therefore, that motion (Doc. 10) is GRANTED.

       THUS ORDERED AND SIGNED in Chambers at Alexandria, Louisiana on

 this 11th day of July, 2018.



                                       _____________________________________
                                       Joseph H.L. Perez-Montes
                                       United States Magistrate Judge
